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AO 247 (02/08) Order Regarding Motion for Sentence Reduction


                                              IN THE UNITED STATES DISTRICT COURT
                                                  FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                                                 )            8:08CR439
           Plaintiff,                                                     )
                                                                          )
v.                                                                        )   USM No: 22655-047
                                                                          )
JOSEPH T. JORDAN,                                                         )    Beau G. Finley
                Defendant.                                                )   Defendant’s Attorney
Date of previous judgment: July 8, 2009                                   )

                    Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)

        Upon the Defendant's pro se motion under 18 U.S.C. § 3582(c)(2) for a reduction in the term of imprisonment
imposed based on a guideline sentencing range that has subsequently been lowered and made retroactive by the United
States Sentencing Commission pursuant to 28 U.S.C. § 994(u), and having considered such motion,

IT IS ORDERED that the motion is GRANTED and the defendant’s previously imposed sentence of imprisonment (as
reflected in the last judgment issued) of 151 months is reduced to 120 months. The Clerk is directed to deliver a copy of
this Order to the U.S. Marshal and to mail a copy of the Order to the Defendant at his last known address.

I. COURT DETERMINATION OF GUIDELINE RANGE (Prior to Any Departures)
     Previous Offense Level:    29                                      Amended Offense Level:       25
     Criminal History Category: VI                                      Criminal History Category:   VI
     Previous Guideline Range: 151              to 188         months   Amended Guideline Range:     120   to 137   months

II. SENTENCE RELATIVE TO AMENDED GUIDELINE RANGE
T       The reduced sentence is within the amended guideline range.
        The previous term of imprisonment imposed was less than the guideline range applicable to the defendant at the
        time of sentencing as a result of a departure or Rule 35 reduction, and the reduced sentence is comparably less
        than the amended guideline range.

        Other (explain):

III. ADDITIONAL COMMENTS

Except as provided above, all provisions of the judgment dated July 8, 2009, shall remain in effect.

IT IS SO ORDERED.

Dated this 23rd day of March, 2012
Effective Date: March 23, 2012

                                                               s/Laurie Smith Camp
                                                               Chief United States District Judge
